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                            Appendix C

                   Hurricane Katrina Timeline
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C.R. Cushing & Co., Inc.

28-Aug (Sunday)
                                                 00:00                              01:00

USGS Industrial Canal            USGS Station 0738023321
Station Gage Reading             On the Industrial Canal at I-10
                                 Gage Reading 1.6
                                 (00:00)

Water Level at IHNC Lock                                             Industrial Canal Lockmaster
                                                                     Reads water level of 0.6 NAVD 88
                                                                     (01:00)




Weather Data                     NOAA Measures 902 mbar
In Hurricane Katrina             in eye (4th lowest pressure
                                 ever in N. Atlantic)

Wind Data at IHNC
30 Min Avg. Speed @ 10M, Knots
10 Min Avg. Speed, Knots
1 Min Avg. Speed, Knots
3 Second Avg. Speed, Knots
Model Wind Direction

Miscellaneous                    NHC Predicts Katrina
                                 to track over N.O.

                                 Times Picayune headlines “Katrina takes Aim”

                                 Katrina Becomes Category 4
                                 (Early AM)




                                                     C-1
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C.R. Cushing & Co., Inc.

28-Aug (Sunday)
                                                02:00                      03:00

USGS Industrial Canal
Station Gage Reading



Water Level at IHNC Lock                                    Industrial Canal Lockmaster
                                                            Reads water level of 1.3 NAVD 88
                                                            (03:00)




Weather Data                     Katrina category 5         Katrina category 5,
In Hurricane Katrina              winds 175 mph              winds 150 mph – 902 mbar
                                 (AM)                       (AM)

Wind Data at IHNC
30 Min Avg. Speed @ 10M, Knots
10 Min Avg. Speed, Knots
1 Min Avg. Speed, Knots
3 Second Avg. Speed, Knots
Model Wind Direction

Miscellaneous




                                                      C-2
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C.R. Cushing & Co., Inc.

28-Aug (Sunday)
                                               04:00               05:00

USGS Industrial Canal
Station Gage Reading



Water Level at IHNC Lock




Weather Data                     0400: Katrina winds 145 mph
In Hurricane Katrina             L 24.5 N, λ 87.5 W, WNW 7mph
                                 (04:00)

Wind Data at IHNC
30 Min Avg. Speed @ 10M, Knots
10 Min Avg. Speed, Knots
1 Min Avg. Speed, Knots
3 Second Avg. Speed, Knots
Model Wind Direction

Miscellaneous




                                                  C-3
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C.R. Cushing & Co., Inc.

28-Aug (Sunday)
                                                 06:00              07:00

USGS Industrial Canal            USGS Station 0738023321
Station Gage Reading             On the Industrial Canal at I-10
                                 Gage Reading 2.5
                                 (06:00)

Water Level at IHNC Lock         Industrial Canal Lockmaster
                                 Reads water level of 2.0 NAVD 88
                                 (06:00)
                                 Winds NE 10 mph




Weather Data
In Hurricane Katrina


Wind Data at IHNC
30 Min Avg. Speed @ 10M, Knots
10 Min Avg. Speed, Knots
1 Min Avg. Speed, Knots
3 Second Avg. Speed, Knots
Model Wind Direction

Miscellaneous




                                                     C-4
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C.R. Cushing & Co., Inc.

28-Aug (Sunday)
                                        08:00                          09:00

USGS Industrial Canal
Station Gage Reading



Water Level at IHNC Lock                                Industrial Canal Lockmaster
                                                        Reads water level of 2.4 NAVD 88
                                                        (09:00)
                                                        Winds NE 10-12 mph




Weather Data
In Hurricane Katrina


Wind Data at IHNC
30 Min Avg. Speed @ 10M, Knots
10 Min Avg. Speed, Knots
1 Min Avg. Speed, Knots
3 Second Avg. Speed, Knots
Model Wind Direction

Miscellaneous




                                           C-5
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C.R. Cushing & Co., Inc.

28-Aug (Sunday)
                                                10:00                              11:00

USGS Industrial Canal
Station Gage Reading



Water Level at IHNC Lock         Industrial Canal Lockmaster        Industrial Canal Lockmaster
                                 Reads water level of 2.8 NAVD 88   Reads water level of 3.2 NAVD 88
                                 (10:00)                            (11:00)
                                 Winds NE 10-12 mph                 Winds NE 10-16 mph




Weather Data                     Katrina winds 175 mph
In Hurricane Katrina             L 26.0 N, λ 88.1 W, WNW 12mph
                                 (10:00)

Wind Data at IHNC
30 Min Avg. Speed @ 10M, Knots
10 Min Avg. Speed, Knots
1 Min Avg. Speed, Knots
3 Second Avg. Speed, Knots
Model Wind Direction

Miscellaneous                    Mayor orders evacuation
                                 of New Orleans
                                 (10:00)




                                                   C-6
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C.R. Cushing & Co., Inc.

28-Aug (Sunday)
                                                 12:00                             13:00

USGS Industrial Canal            USGS Station 0738023321
Station Gage Reading             On the Industrial Canal at I-10
                                 Gage Reading 2.5
                                 (12:00)

Water Level at IHNC Lock         Industrial Canal Lockmaster        Industrial Canal Lockmaster
                                 Reads water level of 3.4 NAVD 88   Reads water level of 3.6 NAVD 88
                                 (12:00)                            (13:00)
                                 Winds NE 10-16 mph                 Winds NE 16-24 mph




Weather Data
In Hurricane Katrina


Wind Data at IHNC
30 Min Avg. Speed @ 10M, Knots                                                     21.96
10 Min Avg. Speed, Knots                                                           23.94
1 Min Avg. Speed, Knots                                                            27.24
3 Second Avg. Speed, Knots                                                         33.61
Model Wind Direction                                                               061.3

Miscellaneous                    Katrina winds decrease
                                 track NNW
                                 (PM)




                                                     C-7
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C.R. Cushing & Co., Inc.

28-Aug (Sunday)
                                                14:00                              15:00

USGS Industrial Canal
Station Gage Reading



Water Level at IHNC Lock         Industrial Canal Lockmaster        Industrial Canal Lockmaster
                                 Reads water level of 4.0 NAVD 88   Reads water level of 4.2 NAVD 88
                                 (14:00)                            (15:00)
                                 Winds NE 16-26 mph                 Winds NE 19-25 mph




Weather Data
In Hurricane Katrina


Wind Data at IHNC
30 Min Avg. Speed @ 10M, Knots                  23.13                              24.49
10 Min Avg. Speed, Knots                        25.21                              26.70
1 Min Avg. Speed, Knots                         28.68                              30.37
3 Second Avg. Speed, Knots                      35.39                              37.47
Model Wind Direction                            061.9                              061.4

Miscellaneous




                                                   C-8
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C.R. Cushing & Co., Inc.

28-Aug (Sunday)
                                                16:00                              17:00

USGS Industrial Canal
Station Gage Reading



Water Level at IHNC Lock         Industrial Canal Lockmaster        Industrial Canal Lockmaster
                                 Reads water level of 4.2 NAVD 88   Reads water level of 4.4 NAVD 88
                                 (16:00)                            (17:00)
                                 Winds NE 10-15 mph                 Winds NW 13-24 mph




Weather Data                     Katrina winds 165 mph
In Hurricane Katrina             L 28.9 N, λ 88.0 W, NW 13mph
                                 (16:00)

Wind Data at IHNC
30 Min Avg. Speed @ 10M, Knots                  25.66                              26.63
10 Min Avg. Speed, Knots                        27.97                              29.03
1 Min Avg. Speed, Knots                         31.82                              33.02
3 Second Avg. Speed, Knots                      39.26                              40.74
Model Wind Direction                            060.4                              059.9

Miscellaneous




                                                   C-9
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C.R. Cushing & Co., Inc.

28-Aug (Sunday)
                                                 18:00                              19:00

USGS Industrial Canal            USGS Station 0738023321
Station Gage Reading             On the Industrial Canal at I-10
                                 Gage Reading 4.8
                                 (18:00)

Water Level at IHNC Lock         Industrial Canal Lockmaster         Industrial Canal Lockmaster
                                 Reads water level of 4.9 NAVD 88’   Reads water level of 4.9 NAVD 88
                                 (18:00)                             (19:00)
                                 Winds NE 10-16 mph                  Winds NE 10-15 mph




Weather Data
In Hurricane Katrina


Wind Data at IHNC
30 Min Avg. Speed @ 10M, Knots                   27.21                              27.80
10 Min Avg. Speed, Knots                         29.66                              30.30
1 Min Avg. Speed, Knots                          33.74                              34.47
3 Second Avg. Speed, Knots                       41.64                              42.53
Model Wind Direction                             058.7                              056.5

Miscellaneous




                                                     C-10
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C.R. Cushing & Co., Inc.

28-Aug (Sunday)
                                                20:00                              21:00

USGS Industrial Canal
Station Gage Reading



Water Level at IHNC Lock         Industrial Canal Lockmaster        Industrial Canal Lockmaster
                                 Reads water level of 4.7 NAVD 88   Reads water level of 4.8 NAVD 88
                                 (20:00)                            (21:00)
                                 Winds NE 7-11 mph                  Winds NE 14-26 mph




Weather Data
In Hurricane Katrina


Wind Data at IHNC
30 Min Avg. Speed @ 10M, Knots                  28.19                              28.77
10 Min Avg. Speed, Knots                        30.72                              31.36
1 Min Avg. Speed, Knots                         34.95                              35.67
3 Second Avg. Speed, Knots                      43.12                              44.02
Model Wind Direction                            053.2                              049.3

Miscellaneous




                                                   C-11
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C.R. Cushing & Co., Inc.

28-Aug (Sunday)
                                                22:00                              23:00

USGS Industrial Canal
Station Gage Reading



Water Level at IHNC Lock         Industrial Canal Lockmaster        Industrial Canal Lockmaster
                                 Reads water level of 5.0 NAVD 88   Reads water level of 5.6 NAVD 88
                                 (22:00)                            (23:00)
                                 Winds NE 19-31 mph                 Winds NE 19-26 mph




Weather Data                     Katrina winds 160 mph
In Hurricane Katrina             L 27.6 N, λ 88.4 W, W 10mph


Wind Data at IHNC
30 Min Avg. Speed @ 10M, Knots                  29.74                              31.30
10 Min Avg. Speed, Knots                        32.42                              34.11
1 Min Avg. Speed, Knots                         36.88                              38.81
3 Second Avg. Speed, Knots                      45.50                              47.88
Model Wind Direction                            045.2                              043.1

Miscellaneous




                                                   C-12
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C.R. Cushing & Co., Inc.

29-Aug (Monday)
                                                       00:00                         01:00

USGS Industrial Canal            USGS Station 0738023321
Station Gage Reading             On the Industrial Canal at I-10
                                 Gage Reading 6.0
                                 (00:00)

Water Level at IHNC Lock         Industrial Canal Lockmaster          Industrial Canal Lockmaster
                                 Reads water level of 6.2 NAVD 88     Reads water level of 7.0 NAVD 88
                                 (00:01)                              (01:00)
                                 Winds NE 24-46 mph                   Winds 24-42 mph

Winds at Lakefront               Wind NE, speed 44.9 mph
Airport, New Orleans             Gusts 63.3 mph
                                 At Lakefront Airport
                                 (00:19)

Weather Data                     Katrina declines to category 4
In Hurricane Katrina             winds 145 mph
                                 (Early AM)

Wind Data at IHNC
30 Min Avg. Speed @ 10M, Knots                         33.82                         35.96
10 Min Avg. Speed, Knots                               36.87                         39.20
1 Min Avg. Speed, Knots                                41.49                         44.59
3 Second Avg. Speed, Knots                             51.57                         55.02
Model Wind Direction                                   043.2                         044.4

Miscellaneous                    Mississippi River peaks and falls

                                 Electricity is lost
                                 (00:00)

                                 President issues Major Disaster Declaration




                                                          C-13
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C.R. Cushing & Co., Inc.

29-Aug (Monday)
                                                 02:00                             03:00

USGS Industrial Canal            USGS Station 0738023321
Station Gage Reading             On the Industrial Canal at I-10
                                 Gage Reading 7.2
                                 (02:00)

Water Level at IHNC Lock         Industrial Canal Lockmaster        Industrial Canal Lockmaster
                                 Reads water level of 7.2 NAVD 88   Reads water level of 8.0 NAVD 88
                                 (02:00)                            (03:00)
                                 Winds 24-31 mph

Winds at Lakefront               Wind NE, speed 43.7 mph            Wind NE, speed 48.3mph
Airport, New Orleans             Gusts 62.2 mph                     Gusts 64.4 mph
                                 At Lakefront Airport               At Lakefront Airport
                                 (02:00)                            (03:03)

Weather Data
In Hurricane Katrina


Wind Data at IHNC
30 Min Avg. Speed @ 10M, Knots                   39.46                             41.99
10 Min Avg. Speed, Knots                         43.01                             45.76
1 Min Avg. Speed, Knots                          48.93                             57.02
3 Second Avg. Speed, Knots                       60.37                             64.24
Model Wind Direction                             045.1                             045.6


Miscellaneous                                                       17th Street breach established
                                                                    by Louisiana National Guard
                                                                    (03:00)




                                                     C-14
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C.R. Cushing & Co., Inc.

29-Aug (Monday)
                                                 04:00                              05:00

USGS Industrial Canal            USGS Station 0738023321            USGS Station 0738023321
Station Gage Reading             On the Industrial Canal at I-10    On the Industrial Canal at I-10
                                 Gage Reading 9.3                   Gage Reading 4.0
                                 (04:00)                            (05:30)

Water Level at IHNC Lock         Industrial Canal Lockmaster        Industrial Canal Lockmaster
                                 Reads water level of 9.2 NAVD 88   Reads water level of 10.2 NAVD 88
                                 (04:00)                            (05:00)


Winds at Lakefront               Wind NE, speed 48.3 mph            Winds NNE, Speed 55.4 mph
Airport, New Orleans             Gusts 76.0 mph                     Gusts 73.7 mph
                                 At Lakefront Airport               At Lakefront Airport
                                 (04:00)                            (05:03)

Weather Data                     Katrina winds 150 mph
In Hurricane Katrina             L 28.8 N, λ 88.6 W, N 15mph
                                 (04:00)

Wind Data at IHNC                                                   05:00 |   05:15 |   05:30 |   05:45 |
30 Min Avg. Speed @ 10M, Knots                   47.43              51.90 |   00.00 |   53.84 |   00.00 |
10 Min Avg. Speed, Knots                         51.70              56.57 |   00.00 |   58.69 |   00.00 |
1 Min Avg. Speed, Knots                          58.81              64.36 |   00.00 |   66.77 |   00.00 |
3 Second Avg. Speed, Knots                       72.57              79.41 |   00.00 |   82.38 |   00.00 |
Model Wind Direction                             044.6              041.9 |   000.0 |   040.0 |   000.0 |


Miscellaneous




                                                     C-15
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C.R. Cushing & Co., Inc.

29-Aug (Monday)
                                                 06:00                                   07:00

USGS Industrial Canal            USGS Station 0738023321
Station Gage Reading             On the Industrial Canal at I-10
                                 Gage Reading 8.0
                                 (06:00)

Water Level at IHNC Lock         Industrial Canal Lockmaster             Industrial Canal Lockmaster
                                 Reads water level of 11.2 NAVD 88       Reads water level of 12.2 NAVD 88
                                 (06:00)                                 (07:00)


Winds at Lakefront               Wind NE, speed 55.2 mph                 Wind NE, speed 69.0 mph
Airport, New Orleans             Gusts 81.7 mph                          Gusts 86.3 mph
                                 At Lakefront Airport                    At Lakefront Airport
                                 (06:02)                                 (06:53)

Weather Data                     Katrina winds 145 mph
In Hurricane Katrina             Moving North at 12-15 mph
                                 (06:15)

Wind Data at IHNC                06:00 |   06.15 |   06:30 |   06:45 |   07:00 |   07:15 |   07:30 |   07:45 |
30 Min Avg. Speed @ 10M, Knots   55.59 |   00.00 |   57.34 |   00.00 |   58.51 |   58.90 |   59.09 |   58.90 |
10 Min Avg. Speed, Knots         60.60 |   00.00 |   62.50 |   00.00 |   63.77 |   64.20 |   64.41 |   64.20 |
1 Min Avg. Speed, Knots          68.93 |   00.00 |   71.10 |   00.00 |   72.55 |   73.03 |   73.27 |   73.03 |
3 Second Avg. Speed, Knots       85.06 |   00.00 |   87.73 |   00.00 |   89.52 |   90.11 |   90.41 |   90.11 |
Model Wind Direction             036.5 |   00.00 |   032.2 |   00.00 |   025.5 |   022.8 |   018.8 |   012.0 |


Miscellaneous                    Katrina pressure 918 mbar
                                 (06:15)

                                 Katrina Landfall, 140 mph
                                 920 mbar – Buras, LA
                                 (06:10)




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C.R. Cushing & Co., Inc.

29-Aug (Monday)
                                                 08:00                                   09:00

USGS Industrial Canal            USGS Station 0738023321                 USGS Station 0738023321
Station Gage Reading             On the Industrial Canal at I-10         On the Industrial Canal at I-10
                                 Gage Reading 11.5                       Gage Reading 13.0
                                 (08:00)                                 (09:00)

Water Level at IHNC Lock         Industrial Canal Lockmaster             Industrial Canal Lockmaster
                                 Reads water level of 13.7 NAVD 88       Reads water level of 14.2 NAVD 88
                                 (08:00)                                 (09:00)


Winds at Lakefront
Airport, New Orleans



Weather Data                     Katrina 135 mph, category 4
In Hurricane Katrina             (08:00)


Wind Data at IHNC                08:00 |   08:15 | 08:30 |   08:45 |     09:00 |   09:15 | 09:30 |   09:45 |
30 Min Avg. Speed @ 10M, Knots   58.51 |   00.00 | 57.54 |   00.00 |     57.34 |   00.00 | 00.00 |   00.00 |
10 Min Avg. Speed, Knots         63.77 |   00.00 | 62.71 |   00.00 |     62.05 |   00.00 | 00.00 |   00.00 |
1 Min Avg. Speed, Knots          72.55 |   00.00 | 73.27 |   00.00 |     71.01 |   00.00 | 00.00 |   00.00 |
3 Second Avg. Speed, Knots       89.52 |   00.00 | 90.41 |   00.00 |     87.73 |   00.00 | 00.00 |   00.00 |
Model Wind Direction             004.6 |   00.00 | 351.8 |   00.00 |     332.5 |   000.0 | 000.0 |   000.0 |


Miscellaneous                    National Weather Service reports
                                 “Levee breech along Industrial Canal”
                                 (08:14)

                                 National Weather Service issues
                                 flash flood warning for N.O.
                                 (08:14)




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C.R. Cushing & Co., Inc.

29-Aug (Monday)
                                                10:00                                 11:00

USGS Industrial Canal            Wind NE, speed 46.0 mph
Station Gage Reading             Gusts 57.7 mph
                                 At Lakefront Airport
                                 (10:01)

Water Level at IHNC Lock         Industrial Canal Lockmaster           Industrial Canal Lockmaster
                                 Reads water level of 12.2 NAVD 88     Reads water level of 11.6 NAVD 88
                                 (10:00)                               (11:00)


Winds at Lakefront
Airport, New Orleans



Weather Data                     Katrina winds 125 mph
In Hurricane Katrina             L 30.2 N, λ 88.6 W, N 16mph
                                 (10:00)

Wind Data at IHNC                10:00 |   10:15 | 10:30 |   10:45 |   11:00 |   11:15 | 11:30 |   11:45 |
30 Min Avg. Speed @ 10M, Knots   58.51 |   00.00 | 00.00 |   00.00 |   53.65 |   00.00 | 00.00 |   00.00 |
10 Min Avg. Speed, Knots         63.77 |   00.00 | 00.00 |   00.00 |   58.48 |   00.00 | 00.00 |   00.00 |
1 Min Avg. Speed, Knots          72.55 |   00.00 | 00.00 |   00.00 |   66.52 |   00.00 | 00.00 |   00.00 |
3 Second Avg. Speed, Knots       89.52 |   00.00 | 00.00 |   00.00 |   82.08 |   00.00 | 00.00 |   00.00 |
Model Wind Direction             302.5 |   000.0 | 000.0 |   000.0 |   278.0 |   000.0 | 000.0 |   000.0 |


Miscellaneous                    Industrial Canal Lockmaster
                                 Photographs Breeched Levee
                                 (About 10:00)

                                 Katrina Landfall
                                 LA-Miss border, 125 mph
                                 (10:00)




                                                    C-18
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C.R. Cushing & Co., Inc.

29-Aug (Monday)
                                                12:00                               13:00

USGS Industrial Canal
Station Gage Reading



Water Level at IHNC Lock         Industrial Canal Lockmaster         Industrial Canal Lockmaster
                                 Reads water level of 11.3 NAVD 88   Reads water level of 10.0 NAVD 88
                                 (12:00)                             (13:00)


Winds at Lakefront
Airport, New Orleans



Weather Data
In Hurricane Katrina


Wind Data at IHNC                12:00 |   12:15 | 12:30 | 12:45 |   13:00 |   13:15 | 13:30 |   13:45 |
30 Min Avg. Speed @ 10M, Knots   47.07 |   00.00 | 00.00 | 00.00 |   42.76 |   00.00 | 00.00 |   00.00 |
10 Min Avg. Speed, Knots         51.27 |   00.00 | 00.00 | 00.00 |   46.61 |   00.00 | 00.00 |   00.00 |
1 Min Avg. Speed, Knots          58.33 |   00.00 | 00.00 | 00.00 |   53.03 |   00.00 | 00.00 |   00.00 |
3 Second Avg. Speed, Knots       71.79 |   00.00 | 00.00 | 00.00 |   65.43 |   00.00 | 00.00 |   00.00 |
Model Wind Direction             264.1 |   000.0 | 000.0 | 000.0 |   265.6 |   000.0 | 000.0 |   000.0 |


Miscellaneous




                                                    C-19
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C.R. Cushing & Co., Inc.

29-Aug (Monday)
                                                14:00                               15:00

USGS Industrial Canal
Station Gage Reading



Water Level at IHNC Lock         Industrial Canal Lockmaster         Industrial Canal Lockmaster
                                 Reads water level of 9.2 NAVD 88    Reads water level of 7.3 NAVD 88
                                 (14:00)                             (15:00)


Winds at Lakefront
Airport, New Orleans



Weather Data
In Hurricane Katrina


Wind Data at IHNC                14:00 |   14:15 | 14:30 | 14:45 |   15:00 |   15:15 | 15:30 |   15:45 |
30 Min Avg. Speed @ 10M, Knots   39.07 |   00.00 | 00.00 | 00.00 |   35.96 |   00.00 | 00.00 |   00.00 |
10 Min Avg. Speed, Knots         42.59 |   00.00 | 00.00 | 00.00 |   39.20 |   00.00 | 00.00 |   00.00 |
1 Min Avg. Speed, Knots          48.45 |   00.00 | 00.00 | 00.00 |   44.59 |   00.00 | 00.00 |   00.00 |
3 Second Avg. Speed, Knots       59.78 |   00.00 | 00.00 | 00.00 |   55.02 |   00.00 | 00.00 |   00.00 |
Model Wind Direction             248.0 |   000.0 | 000.0 | 000.0 |   244.6 |   000.0 | 000.0 |   000.0 |


Miscellaneous




                                                    C-20
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C.R. Cushing & Co., Inc.

29-Aug (Monday)
                                                16:00                               17:00

USGS Industrial Canal
Station Gage Reading



Water Level at IHNC Lock




Winds at Lakefront
Airport, New Orleans



Weather Data
In Hurricane Katrina


Wind Data at IHNC                16:00 |   16:15 | 16:30 | 16:45 |   17:00 |   17:15 | 17:30 |   17:45 |
30 Min Avg. Speed @ 10M, Knots   33.43 |   00.00 | 00.00 | 00.00 |   31.30 |   00.00 | 00.00 |   00.00 |
10 Min Avg. Speed, Knots         36.44 |   00.00 | 00.00 | 00.00 |   34.11 |   00.00 | 00.00 |   00.00 |
1 Min Avg. Speed, Knots          41.46 |   00.00 | 00.00 | 00.00 |   38.18 |   00.00 | 00.00 |   00.00 |
3 Second Avg. Speed, Knots       51.15 |   00.00 | 00.00 | 00.00 |   47.88 |   00.00 | 00.00 |   00.00 |
Model Wind Direction             245.0 |   000.0 | 000.0 | 000.0 |   248.4 |   000.0 | 000.0 |   000.0 |


Miscellaneous




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C.R. Cushing & Co., Inc.

29-Aug (Monday)
                                                18:00                                  19:00

USGS Industrial Canal
Station Gage Reading



Water Level at IHNC Lock




Winds at Lakefront
Airport, New Orleans



Weather Data
In Hurricane Katrina


Wind Data at IHNC                18:00 |   18:15 | 18:30 |   18:45 |   19:00 |   19:15 |   19:30 |   19:45 |
30 Min Avg. Speed @ 10M, Knots   29.55 |   00.00 | 00.00 |   00.00 |   27.99 |   00.00 |   00.00 |   00.00 |
10 Min Avg. Speed, Knots         32.20 |   00.00 | 00.00 |   00.00 |   30.51 |   00.00 |   00.00 |   00.00 |
1 Min Avg. Speed, Knots          36.64 |   00.00 | 00.00 |   00.00 |   34.71 |   00.00 |   00.00 |   00.00 |
3 Second Avg. Speed, Knots       45.21 |   00.00 | 00.00 |   00.00 |   42.83 |   00.00 |   00.00 |   00.00 |
Model Wind Direction             253.8 |   000.0 | 000.0 |   000.0 |   259.1 |   000.0 |   000.0 |   000.0 |


Miscellaneous




                                                    C-22
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C.R. Cushing & Co., Inc.

29-Aug (Monday)
                                        20:00                      21:00

USGS Industrial Canal
Station Gage Reading



Water Level at IHNC Lock




Winds at Lakefront
Airport, New Orleans



Weather Data
In Hurricane Katrina


Wind Data at IHNC
30 Min Avg. Speed @ 10M, Knots
10 Min Avg. Speed, Knots
1 Min Avg. Speed, Knots
3 Second Avg. Speed, Knots
Model Wind Direction


Miscellaneous




                                           C-23
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C.R. Cushing & Co., Inc.

29-Aug (Monday)
                                        22:00                      23:00

USGS Industrial Canal
Station Gage Reading



Water Level at IHNC Lock




Winds at Lakefront
Airport, New Orleans



Weather Data
In Hurricane Katrina


Wind Data at IHNC
30 Min Avg. Speed @ 10M, Knots
10 Min Avg. Speed, Knots
1 Min Avg. Speed, Knots
3 Second Avg. Speed, Knots
Model Wind Direction


Miscellaneous




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                             Appendix D

                 Wind Force on Barge ING 4727
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 DETERMINING WIND LOAD ON BARGE ING 4727

 Because the plaintiffs in this case have alleged that the barge caused the IHNC
 floodwall failure, it is fair to ask whether impact from a barge could have caused
 the wall to fail even if an impact were to have occurred prior to failure.

 A prerequisite for carrying out this analysis is to calculate what the wind loads on
 the barge could have been and to determine what velocity these winds would
 impart on the barge.

 ADJUSTING WIND VELOCITY FOR HEIGHT

 The first step in calculating wind loadings is to determine wind velocities at the
 elevation of the center of the barge. For the purpose of finding the centroid of the
 barge’s area, the barge can be divided into three segments: hull, coaming, and
 hatch covers. Tabulated below are the areas of each segment and their
 respective centroids, ybar.

 Segment                       Area, ft2                  ybar, ft from WL           Area x ybar
 Hull                          2134                       5.335                      11,385
 Coaming                       982.5                      13.17                      12,939
 Hatch Cover                   786                        17.67                      13,888
                               3902.5                                                38,212

 Dividing the sum of (area x ybar) by the total area results in the location of the
 barge’s centroid above water surface, which comes to 9.79 ft.

 The value for wind velocity was based on data collected at the New Orleans
 Lakefront Airport (call sign KNEW) among other locations and interpolated by
 Oceanweather, Inc. for various locations around New Orleans. The elevation of
 KNEW is 8 ft above sea level1, and the anemometer was positioned 33 ft above
 ground level as per NOAA standards, for a total height above sea level of the
 anemometer of 41 ft. Subtracting 15 ft due to storm surge gives a height above
 the water surface in the IHNC of 26 ft.

 Figure 31 in Principles of Naval Architecture, Volume II2, Chapter 5 is used to
 calculate the ratio of wind speed to free stream wind. A height of 26 ft
 corresponds to a coefficient of 0.82 and the height of the barge’s centroid
 corresponds to a coefficient of 0.72. The ratio between these two coefficients is:

                                            0.72 / 0.82 = 0.878

 Thus, the wind velocity on the barge’s centroid would have been 87.8% of the
 velocity interpolated from measurements taken at KNEW.
 1
     http://www.airnav.com/airport/KNEW.
 2
     Principles of Naval Architecture, Vol. II by the Society of Naval Architects and Marine Engineers, 1988.


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 HUGHES’ METHOD3:

 Outlined in Principles of Naval Architecture, Volume II is a method derived by
 Hughes for determining the force exerted on vessels by wind. This method,
 which is the result of research, produced the following formula:

                          F=K        VR2 (AL Sin2       + AT Cos2 ) / Cos ( - )

 Where,

            F = Force in newtons.
            K = Non-dimensional coefficient found to be approximately 0.6.
              = Density of air.
            VR = Velocity relative the vessel’s forward speed in m/s.
            AL = Longitudinal projected area in square meters.
              = Angle of incidence of relative wind velocity vector.
            AT = Transverse projected area in square meters.
              = Angle of incidence of true wind velocity vector.

 An angle of incidence of 0° means that the wind vector acts parallel to the
 vessel’s longitudinal axis, and an angle of incidence of 90° is oriented
 perpendicular to the vessel’s longitudinal axis. Because the barge in question
 had no forward velocity, the angles of incidence and are the same. The
 transverse and longitudinal projected areas for the hull and coaming were taken
 as their entire area, while the projected area of the hatch cover in the transverse
 and longitudinal direction was taken to be their respective areas multiplied by a
 factor of 0.3 to take into account the effects of streamlining. This factor was
 given in the Engineering Fluid Mechanic textbook in addition to it being the drag
 coefficient for a circular rod.

 Tabulations of wind force in both Newtons and pounds for all angles of incidence
 between 0° and 90° are included in this appendix. The wind velocity used was
 26.44 m/s (51 knots or 59 mph), which includes the correction due to altitude
 explained at the beginning of this section. Hughes’ method predicts that the
 maximum wind force will be exerted at an angle of incidence of 90°. This angle
 corresponds to a force of:

                                                F = 35,932lb


 ENGINEERING FLUID MECHANICS METHOD4:


 3
     Principles of Naval Architecture, Vol. II by the Society of Naval Architects and Marine Engineers, 1988.
 4
     Engineering Fluid Mechanics by Clayton T Crowe, et al, 2001.


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 The well-known equation for the velocity pressure of a fluid is:

                                  Fd = ½ Cd Ap    V2
 Where,

        Cd = Coefficient of drag.
        Ap = Area of object exposed to wind.
          = Density of air.
        V = Average wind velocity.

 The coefficient of drag must be estimated based on the known drag coefficients
 for standard objects. For the hull and coaming, the estimate was based on a
 cube, which has a drag coefficient of 1.1 if the fluid acts in a normal direction to a
 face and 0.81 if the fluid strikes the object at a 45° angle. The drag coefficient of
 the hatch cover was considered to be the same as a cylindrical rod, which is
 given as 0.3.

 The drag coefficients of the hull and coaming for all angles of incidence from 0°
 to 90° were estimated by linear interpolation. For this analysis, an angle of
 incidence of 0° means that the wind vector acts parallel to the vessel’s
 longitudinal axis, and a 90° angle of incidence is defined as the wind vector
 acting on the barge in the transverse direction. The drag coefficient of the hatch
 cover was assumed to not change.

 The cross sectional area of the barge was also calculated for all angles
 throughout 90° of rotation. The wind force was then calculated for all angles of
 incidence. This was done on a spreadsheet, which is attached in the following
 spreadsheet.

 For determining wind loading by the fluid mechanics method, the ratio of winds of
 differing altitudes must be used. Applying this factor to the sustained wind speed
 of 67.38 mph gives an effective wind velocity applied on the barge of:

                             (.0878) (67.38) = 59.16 mph

 The result of these calculations is that the maximum wind load exerted on the
 barge occurs when the wind vector acts on the barge in the transverse direction.
 The maximum wind force was found to be:

                                   Fmax = 32,432 lb

 The source of the difference between this force and the force obtained from
 Hughes’ method is the coefficient. In Hughes’ method, the coefficient is 0.6. It is
 important to note that Hughes’ formula does not include a factor of ½, instead
 combining the ½ factor with the coefficient. Essentially, the Hughes formula is
 the same as the velocity pressure equation used with a coefficient of drag of 2 x



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 0.6 = 1.2. Compare this with the drag coefficient of 1.1 used in the velocity
 pressure formula and the source of the discrepancy between the two formulas
 can be seen.

 The results of both the Hughes method and the Engineering Fluid Mechanics
 method expect that the greatest wind force will be exerted when the barge’s
 longitudinal axis is aligned perpendicular to the wind direction. Because the
 largest magnitude of wind force occurs at an angle of incidence of 90° relative to
 the vessel’s centerline, it is expected that the barge will move in the athwartship
 direction.




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C.R. Cushing & Co., Inc.

Wind Forces on Barge ING 4727, Hughes Method

     Length, m      60.96                    Height of Coaming, m     1.52
      Beam, m       10.67         Dist. Coaming offset from side, m   0.46
      Depth, m       3.66                 Height of Hatch Cover, m    1.22
       Draft, m      0.41
                                                     Wind Velocity 26.44316 m/s
                                                                                3
                                                       Air Density 1.223 kg/m

   Longitudinal Projected Area:    311.63   m2
    Transverse Projected Area:      57.47   m2

Wind Angle, Θ Wind Force, N Force, lb

     0             29488.2         6626.6
     1             29527.9         6635.5
     2             29647.1         6662.3
     3             29845.4         6706.8
     4             30122.8         6769.2
     5             30478.9         6849.2
     6             30913.1         6946.8
     7             31425.1         7061.8
     8             32014.2         7194.2
     9             32679.6         7343.7
     10            33420.6        7510.3
     11            34236.3        7693.5
     12            35125.6        7893.4
     13            36087.5        8109.5
     14            37120.8        8341.7
     15            38224.2        8589.7
     16            39396.4        8853.1
     17            40636.0        9131.7
     18            41941.5        9425.1
     19            43311.2        9732.9
     20            44743.6        10054.7
     21            46236.8        10390.3
     22            47789.0        10739.1
     23            49398.4        11100.8
     24            51062.9        11474.8
     25            52780.7        11860.8
     26            54549.5        12258.3
     27            56367.2        12666.8
     28            58231.6        13085.7
     29            60140.4        13514.7
     30            62091.3        13953.1
     31            64081.9        14400.4
     32            66109.9        14856.2
     33            68172.6        15319.7
     34            70267.7        15790.5


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C.R. Cushing & Co., Inc.

Wind Forces on Barge ING 4727, Hughes Method

Wind Angle, Θ Wind Force, N Force, lb

     35          72392.6      16268.0
     36          74544.6      16751.6
     37          76721.1      17240.7
     38          78919.6      17734.7
     39          81137.3      18233.1
     40          83371.4      18735.2
     41          85619.4      19240.3
     42          87878.5      19748.0
     43          90145.8      20257.5
     44          92418.7      20768.2
     45          94694.4      21279.6
     46          96970.0      21791.0
     47          99242.9      22301.8
     48          101510.3     22811.3
     49          103769.3     23318.9
     50          106017.3     23824.1
     51          108251.5     24326.2
     52          110469.2     24824.5
     53          112667.6     25318.6
     54          114844.2     25807.7
     55          116996.2     26291.3
     56          119121.0     26768.8
     57          121216.1     27239.6
     58          123278.9     27703.1
     59          125306.8     28158.8
     60          127297.4     28606.2
     61          129248.4     29044.6
     62          131157.2     29473.5
     63          133021.6     29892.5
     64          134839.3     30301.0
     65          136608.1     30698.4
     66          138325.8     31084.4
     67          139990.4     31458.5
     68          141599.7     31820.2
     69          143152.0     32169.0
     70          144645.2     32504.5
     71          146077.5     32826.4
     72          147447.3     33134.2
     73          148752.7     33427.6
     74          149992.3     33706.1
     75          151164.6     33969.6
     76          152268.0     34217.5
     77          153301.3     34449.7
     78          154263.2     34665.9
     79          155152.5     34865.7



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C.R. Cushing & Co., Inc.

Wind Forces on Barge ING 4727, Hughes Method

Wind Angle, Θ Wind Force, N Force, lb
      80         155968.1    35049.0
      81         156709.1    35215.5
      82         157374.5    35365.1
      83         157963.6    35497.4
      84         158475.6    35612.5
      85         158909.9    35710.1
      86         159265.9    35790.1
      87         159543.3    35852.4
      88         159741.7    35897.0
      89         159860.8    35923.8
      90         159900.5    35932.7



                                  Wind Force v Angle of Incidence
                    40000.0
                    35000.0
                    30000.0
   Wind Force, lb




                    25000.0
                    20000.0
                    15000.0
                    10000.0
                     5000.0
                        0.0
                              0      20        40           60        80   100
                                            Angle of Incidence, deg




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                             Appendix E

   Calculation of Velocity of Barge ING 4727 due to Wind
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 C.R. Cushing & Co., Inc.


 DETERMINATION OF BARGE VELOCITY DUE TO WIND:

 With the wind forces and the direction of motion known, it is possible to
 determine the maximum velocity that the barge will travel. When traveling at its
 terminal velocity, the forces on the barge will be in static equilibrium, that is, the
 wind force will be opposed by resisting forces of equal magnitude and opposite
 direction.

 There are two principal sources of the resisting forces on a vessel, frictional
 resistance and wavemaking resistance. Frictional resistance is caused by a
 viscous fluid flowing over the surface of the vessel. The formula for frictional
 resistance is:

                                              Fs = ½ Cf      V2 S

 Where,

            Cf = Coefficient of friction.
              = Fluid density, 1.99 slugs per cubic foot in the case of salt water.
            V = Velocity of fluid flow relative to the vessel.
            S = Wetted surface area.

 The wetted surface area is the area of the bottom of the barge plus the area of
 the sides and two ends below the waterline. This number is:

                    S = (200’ x 35’) + (2 x 200’ + 2 x 35’) x 1.33’ = 7625.1 ft2

 The coefficient of friction, Cf, is determined by means of a formula determined at
 the International Towing Tank Conference of 1957 (ITTC 57).1 The formula is as
 follows:

                                       Cf = 0.075 / (Log (Rn) – 2)2

 Rn is the Reynolds number, an indicator of the turbulence of fluid flow, which is
 determined by the formula:

                                                 Rn = VL /

 Where,

            V = Velocity of fluid flow relative to the vessel.
            L = Length of vessel, 35’ in this case due to athwartship movement.
              = Kinematic viscosity of water, 0.000015 ft2/s in this case.



 1
     Principles of Naval Architecture Vol. II by the Society of Naval Architects and Marine Engineers, 1988.


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 C.R. Cushing & Co., Inc.


 The second principal component of resistance to moving vessels is
 hydrodynamic drag, which is determined by means of the formula:

                                  Fd = ½ Cd     V2 A
 Where,

       Cd = Coefficient of drag.
         = Fluid density, 1.99 slugs per cubic foot in the case of salt water.
       V = Velocity of fluid flow relative to the vessel.
       A = Surface area normal to the direction of movement.

 If the coefficient of drag can not be determined by experiment, it must be
 estimated based on the known coefficients of standard objects. For the barge’s
 hull under the water line, the coefficient is based on a square rod of infinite
 length, which has a drag coefficient of 2.0.

 The wind force selected for application to the barge is 35,932 lb, which is the
 value that was found from Hughes’ formula.

 In order to accurately determine the hydrodynamic resistance, the effects of
 heeling must be taken into account. Heeling will increase the draft on the
 leeward side of the barge, which will create a larger area normal to the flow of the
 water. The determination of the amount of heel, which was found to be 0.37°,
 can be found in the following analysis.

 EFFECTS OF HEELING

 The total wind loading on the barge is 35.932k. Of this force, 33.4k is from the
 hull and coaming, and 2.532k is from the hatch covers.

 The location above the waterline of the resultant wind loading vector acting on
 the hull and coaming is half the vertical distance from the water line to the top of
 the coaming, or:

                           [(12’ – 1.33’) + 5] / 2 = 7.835 ft

 The similar resultant of the wind loading on the hatch cover is located at a
 distance above the water line of:

                            12’ – 1.33’ + 5’ + 2’ = 17.67 ft

 The location of the combined resultant force is:

                      (33.4 x 7.835) + (2.532 x 17.67) = 8.53 ft
                                       35.932




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 C.R. Cushing & Co., Inc.




 Figure E-1: Diagram of forces on heeling barge.

 The moment arm (the distance a resultant force is from a point of rotation) that
 the wind resultant acts on has a length equivalent to the vertical distance from
 the wind resultant to the center of buoyancy, which is defined as a distance of
 half the draft below the waterline. This gives a moment arm of:

                             8.53’ + 1.33’/2 = 9.195 ft

 When this value is multiplied by the lateral wind force a heeling moment of 330.4
 k-ft is calculated.

 As can be seen from Figure E-1, the restoring moment that counters the
 overturning moment is caused by eccentric buoyant forces, which are a result of
 heeling. The distribution of buoyancy is represented by the trapezoidal shaped
 block under the diagram of the barge, which represents the geometry of the
 displaced water. This trapezoidal block can be considered as two separate
 blocks; the rectangular block at the top and the triangular shaped block on the



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 C.R. Cushing & Co., Inc.


 bottom. The rectangular block, due to its symmetric geometry, does not place a
 moment on the barge.

 The triangular shaped block is the contributor to the righting moment. The total
 weight of displaced water represented by the block is:

                         ½ 2     35’ 200’ 64 pcf = 448       k,

 Delta ( ) is the increase in draft on the leeward side of the barge, which is also
 equal to the decrease in draft on the windward side. The moment arm that this
 righting force acts on is 1/6 of the barge’s beam, or 5.833 ft, which gives a
 righting moment of 2613.2 k-ft.

 Setting the capsizing moment and the restoring moment equal to each other,
 Delta ( ) is able to be determined as:

                                   = 0.126 ft = 1.5 in

 1.38 inches corresponds to an angle of heel of:

                            Tan-1 (2 (0.126 / 35)) = 0.41°

 As both of the force components are dependent on velocity, the total resisting
 force must be determined on a spread sheet for varying velocities. The velocity
 that corresponds to a total resisting force equal to the wind force of 35,932 lb will
 be the velocity that the barge moves at, which from the attached spreadsheet, is:

                                   Vmax = 7.73 fps
                                   or = 4.57 knots
                                   or = 5.27 mph

 The last spreadsheet in this appendix contains a tabulation of velocities attained
 by the barge for given wind velocities.




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C.R. Cushing & Co., Inc.

Resistance on Barge ING 4727 for Given Athwartship Velocities

Width                     35 ft
Length                   200 ft
                                2
Kinematic Visc.     0.000015 ft /s
Area:              7625.1    ft2

Velocity, Knots Velocity, fps        Rn       Cf       Surface Resistance Drag Resistance Total Resistance
                                                            (Pounds)         (Pounds)        (Pounds)

       0              0                 0          0          0.00               0.00            0.00
     0.059           0.1        233333.33   0.006612          0.50              5.80            6.30
     0.118           0.2        466666.67   0.005571          1.67              23.21           24.89
     0.178           0.3          700000    0.005073          3.43              52.23           55.65
     0.237           0.4        933333.33   0.004759          5.72              92.85           98.56
     0.296           0.5        1166666.7   0.004534          8.51             145.07          153.59
     0.355           0.6         1400000    0.004363         11.80            208.90          220.70
     0.414           0.7        1633333.3   0.004225         15.55            284.34          299.89
     0.474           0.8        1866666.7   0.004111         19.76            371.38          391.14
     0.533           0.9         2100000    0.004015         24.42            470.03          494.45
     0.592            1         2333333.3   0.003931         29.52            580.28          609.81
     0.651           1.1        2566666.7   0.003858         35.06            702.14          737.20
     0.711           1.2         2800000    0.003792         41.01            835.61          876.62
     0.770           1.3        3033333.3   0.003734         47.39            980.68          1028.07
     0.829           1.4        3266666.7   0.003681         54.18            1137.36         1191.54
     0.888           1.5         3500000    0.003632         61.38            1305.64         1367.02
     0.947           1.6        3733333.3   0.003588         68.98            1485.53         1554.51
     1.007           1.7        3966666.7   0.003547         76.99            1677.02         1754.01
     1.066           1.8         4200000    0.003509         85.39            1880.12         1965.51
     1.125           1.9        4433333.3   0.003473         94.18            2094.83         2189.00
     1.184            2         4666666.7    0.00344         103.36           2321.14         2424.49
     1.243           2.1         4900000    0.003409         112.93           2559.05         2671.98
     1.303           2.2        5133333.3    0.00338         122.88           2808.57         2931.45
     1.362           2.3        5366666.7   0.003353         133.21           3069.70         3202.91
     1.421           2.4         5600000    0.003327         143.91           3342.44         3486.35
     1.480           2.5        5833333.3   0.003302         155.00           3626.78         3781.77
     1.539           2.6        6066666.7   0.003278         166.45           3922.72         4089.17
     1.599           2.7         6300000    0.003256         178.28           4230.27         4408.55
     1.658           2.8        6533333.3   0.003235         190.47           4549.43         4739.90
     1.717           2.9        6766666.7   0.003214         203.03           4880.19         5083.22
     1.776            3          7000000    0.003195         215.96           5222.56         5438.52
     1.836           3.1        7233333.3   0.003176         229.25           5576.53         5805.78
     1.895           3.2        7466666.7   0.003158         242.90           5942.11         6185.00
     1.954           3.3         7700000    0.003141         256.90           6319.29         6576.20
     2.013           3.4        7933333.3   0.003124         271.27           6708.08         6979.35
     2.072           3.5        8166666.7   0.003108         285.99           7108.48         7394.47
     2.132           3.6         8400000    0.003093         301.06           7520.48         7821.54
     2.191           3.7        8633333.3   0.003078         316.49           7944.09         8260.58
     2.250           3.8        8866666.7   0.003064         332.27           8379.30         8711.57


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C.R. Cushing & Co., Inc.

Resistance on Barge ING 4727 for Given Athwartship Velocities

Velocity, Knots Velocity, fps     Rn          Cf       Surface Resistance Drag Resistance Total Resistance
                                                            (Pounds)         (Pounds)        (Pounds)

    2.309            3.9         9100000     0.00305         348.39          8826.12          9174.51
    2.368             4         9333333.3   0.003036         364.87          9284.54          9649.41
    2.428            4.1        9566666.7   0.003023         381.69          9754.57          10136.26
    2.487            4.2         9800000    0.003011         398.86          10236.21         10635.07
    2.546            4.3        10033333    0.002998         416.37          10729.45         11145.82
    2.605            4.4        10266667    0.002986         434.23          11234.30         11668.53
    2.664            4.5        10500000    0.002975         452.43          11750.75         12203.18
    2.724            4.6        10733333    0.002963         470.96          12278.81         12749.77
    2.783            4.7        10966667    0.002952         489.84          12818.47         13308.32
    2.842            4.8        11200000    0.002942         509.06          13369.74         13878.80
    2.901            4.9        11433333    0.002931         528.62          13932.62         14461.23
    2.961             5         11666667    0.002921         548.51          14507.10         15055.61
    3.020            5.1        11900000    0.002911         568.73          15093.19         15661.92
    3.079            5.2        12133333    0.002902         589.30          15690.88         16280.18
    3.138            5.3        12366667    0.002892         610.19          16300.18         16910.37
    3.197            5.4        12600000    0.002883         631.42          16921.08         17552.50
    3.257            5.5        12833333    0.002874         652.98          17553.59         18206.57
    3.316            5.6        13066667    0.002865         674.87          18197.71         18872.58
    3.375            5.7        13300000    0.002857         697.09          18853.43         19550.52
    3.434            5.8        13533333    0.002848         719.65          19520.75         20240.40
    3.493            5.9        13766667     0.00284         742.52          20199.69         20942.21
    3.553             6         14000000    0.002832         765.73          20890.22         21655.96
    3.612            6.1        14233333    0.002824         789.27          21592.37         22381.63
    3.671            6.2        14466667    0.002816         813.12          22306.12         23119.24
    3.730            6.3        14700000    0.002809         837.31          23031.47         23868.78
    3.789            6.4        14933333    0.002801         861.82          23768.43         24630.25
    3.849            6.5        15166667    0.002794         886.65          24517.00         25403.65
    3.908            6.6        15400000    0.002787         911.81          25277.17         26188.98
    3.967            6.7        15633333     0.00278         937.29          26048.95         26986.24
    4.026            6.8        15866667    0.002773         963.09          26832.33         27795.42
    4.086            6.9        16100000    0.002766         989.21          27627.32         28616.53
    4.145             7         16333333     0.00276         1015.65         28433.92         29449.56
    4.204            7.1        16566667    0.002753         1042.41         29252.12         30294.53
    4.263            7.2        16800000    0.002747         1069.49         30081.92         31151.41
    4.322            7.3        17033333    0.002741         1096.89         30923.33         32020.22
    4.382            7.4        17266667    0.002734         1124.60         31776.35         32900.95
    4.441            7.5        17500000    0.002728         1152.63         32640.97         33793.61
    4.500            7.6        17733333    0.002722         1180.98         33517.20         34698.19
    4.559            7.7        17966667    0.002716         1209.65         34405.04         35614.69
    4.618            7.8        18200000    0.002711         1238.63         35304.48         36543.11
    4.678            7.9        18433333    0.002705         1267.92         36215.52         37483.45
    4.737             8         18666667    0.002699         1297.53         37138.18         38435.71
    4.796            8.1        18900000    0.002694         1327.45         38072.43         39399.89
    4.855            8.2        19133333    0.002688         1357.69         39018.30         40375.99


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C.R. Cushing & Co., Inc.

Resistance on Barge ING 4727 for Given Athwartship Velocities

Velocity, Knots Velocity, fps     Rn         Cf       Surface Resistance Drag Resistance Total Resistance
                                                           (Pounds)         (Pounds)        (Pounds)

    4.914           8.3         19366667   0.002683         1388.24         39975.76         41364.00
    4.974           8.4         19600000   0.002678         1419.10         40944.84         42363.94
    5.033           8.5         19833333   0.002673         1450.27         41925.52         43375.79
    5.092           8.6         20066667   0.002667         1481.75         42917.80         44399.55
    5.151           8.7         20300000   0.002662         1513.54         43921.70         45435.24
    5.211           8.8         20533333   0.002657         1545.64         44937.19         46482.84
    5.270           8.9         20766667   0.002653         1578.05         45964.30         47542.35
    5.329            9          21000000   0.002648         1610.77         47003.00         48613.78
    5.388           9.1         21233333   0.002643         1643.80         48053.32         49697.12
    5.447           9.2         21466667   0.002638         1677.14         49115.24         50792.38
    5.507           9.3         21700000   0.002634         1710.78         50188.76         51899.55
    5.566           9.4         21933333   0.002629         1744.73         51273.89         53018.63
    5.625           9.5         22166667   0.002625         1778.99         52370.63         54149.62
    5.684           9.6         22400000    0.00262         1813.55         53478.97         55292.52
    5.743           9.7         22633333   0.002616         1848.42         54598.92         56447.34
    5.803           9.8         22866667   0.002611         1883.59         55730.48         57614.07
    5.862           9.9         23100000   0.002607         1919.07         56873.63         58792.71
    5.921            10         23333333   0.002603         1954.85         58028.40         59983.25
    5.980           10.1        23566667   0.002599         1990.94         59194.77         61185.71
    6.039           10.2        23800000   0.002594         2027.33         60372.75         62400.07
    6.099           10.3        24033333    0.00259         2064.02         61562.33         63626.35
    6.158           10.4        24266667   0.002586         2101.01         62763.52         64864.53
    6.217           10.5        24500000   0.002582         2138.31         63976.31         66114.62
    6.276           10.6        24733333   0.002578         2175.91         65200.71         67376.62
    6.336           10.7        24966667   0.002575         2213.81         66436.72         68650.52
    6.395           10.8        25200000   0.002571         2252.01         67684.33         69936.33
    6.454           10.9        25433333   0.002567         2290.51         68943.54         71234.05
    6.513            11         25666667   0.002563         2329.31         70214.36         72543.67
    6.572           11.1        25900000   0.002559         2368.41         71496.79         73865.20
    6.632           11.2        26133333   0.002556         2407.81         72790.82         75198.64
    6.691           11.3        26366667   0.002552         2447.51         74096.46         76543.97
    6.750           11.4        26600000   0.002548         2487.51         75413.71         77901.22
    6.809           11.5        26833333   0.002545         2527.80         76742.56         79270.36
    6.868           11.6        27066667   0.002541         2568.40         78083.02         80651.41
    6.928           11.7        27300000   0.002538         2609.29         79435.08         82044.37
    6.987           11.8        27533333   0.002534         2650.48         80798.74         83449.22
    7.046           11.9        27766667   0.002531         2691.96         82174.02         84865.98
    7.105            12         28000000   0.002528         2733.74         83560.90         86294.64
    7.164           12.1        28233333   0.002524         2775.82         84959.38         87735.20
    7.224           12.2        28466667   0.002521         2818.19         86369.47         89187.67
    7.283           12.3        28700000   0.002518         2860.86         87791.17         90652.03
    7.342           12.4        28933333   0.002515         2903.83         89224.47         92128.30
    7.401           12.5        29166667   0.002511         2947.09         90669.37         93616.46
    7.461           12.6        29400000   0.002508         2990.64         92125.89         95116.53


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C.R. Cushing & Co., Inc.

Resistance on Barge ING 4727 for Given Athwartship Velocities

Velocity, Knots Velocity, fps     Rn         Cf       Surface Resistance Drag Resistance Total Resistance
                                                           (Pounds)         (Pounds)        (Pounds)

    7.520           12.7        29633333   0.002505         3034.49         93594.01        96628.49
    7.579           12.8        29866667   0.002502         3078.63         95073.73        98152.36
    7.638           12.9        30100000   0.002499         3123.06         96565.06        99688.12
    7.697            13         30333333   0.002496         3167.79         98068.00        101235.79
    7.757           13.1        30566667   0.002493         3212.81         99582.54        102795.35
    7.816           13.2        30800000    0.00249         3258.12         101108.68       104366.81
    7.875           13.3        31033333   0.002487         3303.73         102646.44       105950.17
    7.934           13.4        31266667   0.002484         3349.63         104195.80       107545.42
    7.993           13.5        31500000   0.002481         3395.82         105756.76       109152.58
    8.053           13.6        31733333   0.002478         3442.30         107329.33       110771.63
    8.112           13.7        31966667   0.002475         3489.07         108913.50       112402.57
    8.171           13.8        32200000   0.002472         3536.13         110509.28       114045.42
    8.230           13.9        32433333   0.002469         3583.48         112116.67       115700.15
    8.289            14         32666667   0.002467         3631.13         113735.66       117366.79
    8.349           14.1        32900000   0.002464         3679.06         115366.26       119045.32
    8.408           14.2        33133333   0.002461         3727.28         117008.47       120735.75
    8.467           14.3        33366667   0.002458         3775.79         118662.28       122438.07
    8.526           14.4        33600000   0.002456         3824.59         120327.69       124152.28
    8.586           14.5        33833333   0.002453         3873.68         122004.71       125878.39
    8.645           14.6        34066667    0.00245         3923.06         123693.34       127616.40
    8.704           14.7        34300000   0.002448         3972.72         125393.57       129366.29
    8.763           14.8        34533333   0.002445         4022.68         127105.41       131128.09
    8.822           14.9        34766667   0.002443         4072.92         128828.85       132901.77
    8.882            15         35000000    0.00244         4123.45         130563.90       134687.35




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Wind Speed / Barge Velocity Relationship


Wind Speed Wind Speed Wind Speed Velocity Pressure Wind Force on Barge Increase in Draft Barge Velocity
 at barge   at KNEW       fps           psf              Pounds        Due to Heeling, in     fps
   knots      knots

    40         45.56      67.56          5.36               18606              0.737         6.170
    41         46.70      69.24          5.63               19548              0.774         6.192
    42         47.84      70.93          5.91               20513              0.812         6.335
    43         48.97      72.62          6.20               21502              0.852         6.478
    44         50.11      74.31          6.49               22513              0.892         6.621
    45         51.25      76.00          6.79               23548              0.933         6.763
    46         52.39      77.69          7.09               24607              0.974         6.904
    47         53.53      79.38          7.40               25688              1.017         7.045
    48         54.67      81.07          7.72               26793              1.061         7.185
    49         55.81      82.76          8.05               27921              1.106         7.325
    50         56.95      84.44          8.38               29072              1.151         7.464
    51         58.09      86.13          8.72               30247              1.198         7.603
    52         59.23      87.82          9.06               31444              1.245         7.740
    53         60.36      89.51          9.41               32665              1.294         7.878
    54         61.50      91.20          9.77               33910              1.343         8.014
    55         62.64      92.89          10.14              35177              1.393         8.150
    56         63.78      94.58          10.51              36468              1.444         8.286
    57         64.92      96.27          10.89              37782              1.496         8.420
    58         66.06      97.96          11.27              39119              1.549         8.554
    59         67.20      99.64          11.67              40480              1.603         8.688
    60         68.34      101.33         12.07              41864              1.658         8.820
    61         69.48      103.02         12.47              43271              1.714         8.952
    62         70.62      104.71         12.88              44701              1.770         9.084
    63         71.75      106.40         13.30              46155              1.828         9.214
    64         72.89      108.09         13.73              47632              1.886         9.344
    65         74.03      109.78         14.16              49132              1.946         9.474
    66         75.17      111.47         14.60              50655              2.006         9.602
    67         76.31      113.16         15.04              52202              2.067         9.730
    68         77.45      114.84         15.50              53772              2.129         9.857
    69         78.59      116.53         15.96              55365              2.193         9.984
    70         79.73      118.22         16.42              56981              2.257         10.109
    71         80.87      119.91         16.89              58621              2.321         10.234
    72         82.00      121.60         17.37              60284              2.387         10.359
    73         83.14      123.29         17.86              61970              2.454         10.482
    74         84.28      124.98         18.35              63680              2.522         10.605
    75         85.42      126.67         18.85              65412              2.590         10.727
    76         86.56      128.36         19.36              67168              2.660         10.848
    77         87.70      130.04         19.87              68947              2.730         10.969
    78         88.84      131.73         20.39              70750              2.802         11.089
    79         89.98      133.42         20.92              72576              2.874         11.208
    80         91.12      135.11         21.45              74425              2.947         11.326




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                                         Barge Velocity v. Wind Speed

                        8.000
                        7.000
Barge Velocity, Knots




                        6.000
                        5.000
                        4.000
                        3.000
                        2.000
                        1.000
                        0.000
                                0   10     20      30      40          50   60     70   80      90
                                            Wind Speed at Mean Barge Elevation, Knots




                                                                E-10
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                             Appendix F

                      Barge Impact Analysis
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ANALYSIS OF A HYPOTHETICAL BARGE IMPACT

In order to evaluate whether a barge could have hypothetically caused the failure, the
following analysis examines the possibility of a barge striking the floodwall atop the
earth levee.

Any forces exerted on the levee are a function of the mass of the barge and the rate of
deceleration. Because the rate of deceleration can not be directly calculated, the
forces will have to be derived by means of a work-energy analysis.

THEORY OF FLOODWALL REACTION TO IMPACT

Any impact exerted on the floodwall will be resisted by the same passive earth
resistance that resists hydrostatic loads. As an impact load is applied to the top of the
wall, the wall will tend to move in the protected (land) direction. The force exerted by
the passive earth resistance over the distance of the deformation is the source of the
work that acts to overcome the kinetic energy of the moving barge.

Because of the short length of the sheetpile and the relative soft nature of the clay soil,
the sheetpile is considered rigid. Deformations due to bending of the pile will be small
compared to deformations due to soil movement and may be neglected.

With an upright floodwall, all the forces and moments acting on the wall would have
had to be in equilibrium, which is to say that all forces pushing the wall in the landward
direction must be equaled by forces pushing in the direction of the canal and all
moments causing the wall to rotate in the landward direction would be equaled by
moments restoring the wall to an upright position. In order to determine what the
pressure distribution would have been like, a case was analyzed considering a water
filled gap on the canal side of the floodwall.

In order to determine the static pressure distribution, an iterative process of choosing
points of rotation and analyzing the resulting pressure and force distribution was
employed. Each different point of rotation offered differing driving and resisting forces
and moments. None of the forces and moments, however, were in equilibrium. This is
because the full passive earth pressure is not being exerted by the wall, but only a
fraction thereof. For each of the points of rotation analyzed, it was investigated if there
was any percentage by which the lateral earth pressure could be reduced that would
yield zero net moments and sliding forces.

It was found that such a case existed when the point of rotation was located 8 inches
above the tip of the pile and the lateral earth pressure was 55.3% of the maximum
available pressure. This is the condition that will be investigated in this collision
analysis.

Figure F-1 shows a diagram of the wall movement for the condition of no scour. For
the purposes of this analysis, it is assumed that the concrete floodwall will not crack in
any other way than stated in further assumptions. The validity of this assumption will

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be tested when the expected forces of the barge striking the floodwall have been
calculated.




Figure F-1: Movement of wall due to impact loading, rotation about theoretical point of
rotation.

Due to the geometry of similar triangles, a displacement of (Delta) at the top of the
floodwall will correspond to displacements of 0.671 and 0.03 at ground level and the
pile tip, respectively.

As can be seen in Figure F-2, the maximum passive pressures, 6 and 7 are 1625.6
psf and 2374.4 psf, respectively. However, that amount of resistance is not developed
immediately. In soft clay, such as that comprising the embankment and underlying soil
layers, the amount of wall movement required to develop full passive resistance is
about:

                                                  0.05 H1                                        1)
Where H = Depth of Penetration

In the case of this sheetpile, H will have a value of 17 feet, the distance from ground
level to the tip of the pile. With this knowledge, it is possible to calculate the


1
    Chapter 12: Lateral Earth Pressure in Principles of Geotechnical Engineering by Braja Das.
                                                         F-2
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displacement     at the top of the wall necessary to develop full passive resistance.
Using the distance from point of rotation to ground level in equation 1 gives:

                              0.05 (17’) (12) = 10.2”                         1.1)

This corresponds to the necessary displacement at ground level. The geometry of
similar triangles can then be used to find the corresponding displacement at the top of
the wall:

                                 10.2” = 15.201”                                2)
                                0.671

As seen in the diagram below, there are two locations where passive soil resistance
resists overturning force applied by an impacting projectile. These areas are labeled
as Passive Soil Resistance 1 and Passive Soil Resistance 2.




Figure 2: Zones of pressure diagram showing maximum potential lateral earth
pressure.

Note that the forces and moments in Figure F-2 are not equal to zero. This is because
these loads are not the actual passive resistance loads that are applied to the
floodwall, but the maximum loads that can be developed. When the passive soil loads
are of a magnitude equal to 55.3% of their maximum and applied in the same
distribution shown, forces left and right will be equal as well as moments about the
point of rotation.

For all areas of the pressure diagram, the amount of passive resistance available will
increase linearly from zero for no movement of the top of the levee, to the maximum
passive resistance when the top of the floodwall moves 15.201”.


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WORK PERFORMED BEFORE FULL PASSIVE RESISTANCE IS DEVELOPED

Before a deflection is reached allowing full passive resistance, the soil resisting the
impact loads acts like a spring in that the greater the deformation produced, the greater
the force required. The goal is to produce an equation for work in the form of the
spring equation:

                                    W = ½ k X2                                      3)
Where,

W = Work Performed
k = Spring Constant
X = Spring Displacement

In this case, displacement at the top of the floodwall will be from zero to 15.201”, after
which deformations will become plastic and will require a second set of equations. For
purposes of analysis, a unit deformation of 1” will be assumed in order to determine
the spring constant.

Consider Figures F-1 and F-2. In Figure F-1, the equation for pile displacement versus
depth is:

                              = (-0.671 / 16.33) D + 0.671                          4)

Where    is the lateral displacement of the sheet piling and D is the depth below ground
level.

In Figure F-2, the equation for passive soil resistance pressure versus depth is:

                              = (1000/15.201) + (104/15.201) D                      5)

Where D again is the depth below ground level and         is the lateral passive soil
pressure. This can also be the equation for instantaneous average force per one foot
length section of the piling.

Multiplying equations 4 and 5 gives an expression gives an expression for work along
the length of the piling. Multiplied, these equations become:

                            -0.2812 D2 + 1.887 D + 44.14                            6)

Integrating equation 6 between 0 and 16.33 gives a value of 564.34. There is also a
small area below the point of rotation that will contribute an additional amount of
resistance. Using the same method of deriving equations for displacement and
pressure versus depth, multiplying those equations, and integrating over the 8 inch
length of the sheetpile below the point of rotation gives an additional value of 2.0524.
The sum of these two values is 566.39.


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Because the value of 566.39 has a unit of lb / ft / ft and we need a unit of lb / in / ft, it is
necessary to divide by 12, which is our spring constant of 47.2. Thus, the equation for
work is:

                                    W = ½ 47.2 X2                                      7)

WORK PERFORMED AFTER FULL PASSIVE RESISTANCE IS DEVELOPED

After the top of the wall displaces by 15.201”, full passive resistance is developed and
the work/distance relationship becomes linear; that is the force required to be exerted
will no longer increase and the work will follow the equation:

                                        W=FX                                           8)

In order to find the coefficient F for work performed after full passive resistance is
developed, all that is necessary is to multiply the spring coefficient K by 15.201, which
was removed for the determination of that equation, giving:

                                       F = 717.48 lb/ft

Thus, the equation for work after full passive resistance has been developed is:

                                       W = 717.48 X                                    9)

MODELING OF POSSIBLE COLLISION SCENARIOS

Calculating the amount of work done per unit of displacement is one of two parts in
modeling a hypothetical collision between a barge and the floodwall. The other part is
to model the geometry in which the wall will deform. In theory, there are an infinite
number of possible ways that a barge could strike a floodwall. This analysis will focus
on three of the most likely scenarios. All of the scenarios involve the barge striking the
floodwall with one corner, and because no crushing damage was observed done to the
corners, assumes that the barge itself will experience negligible deformations in
comparison with the floodwall.

Scenario 1:

Scenario 1 involves the corner of the barge striking the center of one of the 30’ long
concrete panels comprising the stem of the floodwall. As shown in Figure F-3, the
panel which is struck carries the ends of the two adjacent panels backward with it,
creating a trapezoidal shaped deformation area.

Figure F-4 shows the distribution of work during the impact. The Figure is divided into
8 separate areas.      p is the symbol for the deflection that will yield full passive
resistance. This value is 15.201”. For all deformations under         p, the work will
increase by the square of the distance deformed according to equation 7.

The equation for work represented by areas 2 and 4 is:
                                        F-5
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                                 W2,4 = ½ K X2 (30’-L)
Where:                                                                     10)

X = if < p
X = p if > p
L = 30’ if < p
L = 30 x p / if > p
K = Spring constant, 47.2.

And the equation for work represented by area 3 is:

                                   W3 = ½ K X2 (30’)

Where:                                                                     11)

X=    if     <       p
X=    p if       >       p




Figure F-3: Diagram of Impact Scenario 1 (bottom) and Deformation Diagram (top).




Figure F-4: Distribution of Work for Impact Scenario 1.

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Areas 1 and 5 behave differently because the deformations are not constant across
their length. Therefore, the upper bounding curve will take the shape of a parabola and
the work performed will be indicated by its area:

                                 W1,5 = 1/3 (½ K X2) (L)
Where,                                                                        12)

X = if it is less than p
X = p if is greater than p
L = 30’ if is less than p
L = 30 x p / if is greater than     p


Areas 6 and 8, because they do not experience a constant deformation over their
length but have a linear displacement-work relationship, are triangular shaped.
Therefore, the work represented by these areas is:

                              W6,8 = ½ (30-L) ( -    p) (F)
                                                                                    13)
Where,

L = 30’ if is less than p
L = 30 x p / if is greater than p
F = Force coefficient after passive resistance has been achieved, 717.48.

Area 7 is similar to areas 6 and 8, except it is rectangular shaped and has a uniform
length of 30’. The equation becomes:

                                 W7 = 30 ( -     p) (F)
                                                                                    14)
Scenario 2:

Scenario 2 involves the corner of the barge striking the joint between two panels on the
floodwall stem. Figure F-5 shows a diagram of this collision, and Figure F-6 shows a
work distribution diagram.




                                          F-7
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Figure F-5: Diagram of Impact Scenario 2 (bottom) and Deformation Diagram (top).




Figure F-6: Distribution of Work for Impact Scenario 2.

It can be noted that the Figure F-7 is the same as Figure F-5 save the elimination of
areas 3 and 7 because there is no center panel that is pushed back a uniform distance.
It follows that the equations for work represented by areas 1, 2, and 6 are identical to
equations 12, 10, and 13 respectively.

Scenario 3:

Scenario 3 is similar to Scenario 1, except instead of the center panel being pushed
backward and rotating the two adjacent panels, the center panel cracks due to the
impact. A diagram can be seen in Figure F-7, with the work distribution shown in
Figure F-8.




                                          F-8
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Figure F-7: Diagram of Impact Scenario 3 (bottom) and Deformation Diagram (top).




Figure F-8: Distribution of Work for Impact Scenario 3.

This distribution is similar to that of Scenario 2; the main difference is that the impact is
spread over an area only half as wide. The equation for areas 1 and 5 become:

                                  W1,5 = 1/3 (½ K X2) (L)
Where,                                                                             15)

X = if it is less than p
X = p if greater than p
L = 15’ if is less than p
L = 15 x p / if is greater than       p


The equation for areas 2 and 4 is similarly altered:

                                   W2,4 = ½ K X2 (15’-L)
Where:                                                                                   16)

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X = if < p
X = p if > p
L = 15’ if < p
L = 15 x p / if     >   p


The equation for areas 6 and 8 become:

                                      W6,8 = ½ (15-L) ( -    p) (F)                 17)

ENERGY DUE TO VELOCITY OF THE BARGE

The kinetic energy (ke) of the moving barge follows the equation:

                                      ke = ½ m v2                                   18)
Where:

m = mass of barge (slugs)
m = Weight (pounds) / Gravitational Acceleration (ft/sec2)
m = 559,990 lbs / 32.2 ft/sec2
m = 17,391 slugs
v = velocity of barge

The derivation of the velocity of the barge was done in the previous appendix of this
report. This report used the wind velocity and direction that occurred at 8:00 AM on the
morning of 29 August, 2005. The values for this time were used because it was the
only wind that blew in the direction of the levee at a time before the National Weather
Service issued a report that the Industrial Canal levee was breached. This report was
released at 8:14 AM that morning.

The ultimate finding was that the maximum velocity that the barge could have attained
was 5.27 mph, or 7.73 feet per second. At this time, the wind was acting in a direction
of 355° relative to true north, which when considered that the Industrial Canal is
oriented at an angle 15° east of true north, would mean that the barge, if blown by the
wind, would have traveled in a direction of 10° relative to the levee. Therefore the
barge would not move toward the levee at 7.73 feet per second, but the velocity normal
to the wall would be equal to:

                               Vn = 7.73 sin (10°) = 1.342 fps                      19)

Using this value of velocity in equation 25 will produce a kinetic energy of:

                            ke = ½ (17,391) (1.3422)= 15,660 lb-ft




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SUMMARY OF RESULTS OF IMPACT MODELING

Table F-1 sets forth the maximum deflection that the floodwall would be expected to
experience for the three different collision scenarios.

                     Case 1, Scenario: Expected Deflection
                              1                    3.64 in
                              2                    5.76 in
                              3                    8.15 in
Table F-1: Expected deflections of floodwall for different collision scenarios.

It is necessary to note that these deflections are to be considered in addition to the
deflection caused by hydrostatic pressure on the floodwall. Hydrostatic pressure would
produce 55.3% of the maximum allowable pressure on the wall, which corresponds to
a displacement of 8.4 inches. In Scenario 3, a total deflection of 16.55 inches could be
produced, which is greater than the 15.201 inches required for full passive resistance
to be developed. The zone where the maximum passive pressure has been exceeded
would lie in the few feet of embankment on either side of the point where the barge
struck. This small area where the embankment would have been pushed in the
landward direction would not have been sufficient for the floodwall to overturn (Refer to
the apex of the diagram in Figure F-8).

The below table contains the maximum force and moment placed on the flood wall
panels for the three collision scenarios. Detailed descriptions of how these figures
were obtained can be found in calculations attached to this appendix (Attachment F-1).

Case 1, Collision Scenario:    Maximum Expected Force             Maximum Expected
                                                                       Moment
              1                       103.29 k                        542.3 k-ft
              2                        65.24 k                        188.3 k-ft
              3                         46.1 k                         66.6 k-ft
Note: k = kilopound (kip) = 1000 lb.
Table F-2: Expected force and flood wall moments created by impact loading.

As expected, the force exerted on the floodwall is smaller for scenarios where more
deflection is experienced. With the maximum expected moments known, it can be
determined whether or not a panel might crack. This is done by comparing the
maximum expected moments for each scenario with the flexural strength of the
reinforced concrete wall panels, which are calculated in the next section.




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STRENGTH OF THE CONCRETE FLOODWALL

The floodwall atop the steel sheetpiling consists of concrete panels 30 ft long, 8 ft high,
2 ft thick and reinforced in both the horizontal (longitudinal) and vertical direction by
deformed steel bars of varying diameter and spacing.

Before taking this reinforcement into account, the wall will be analyzed neglecting
reinforcement. The first step in this process is to determine the area, centroid and
moment of inertia of the panel. Consider the following figure:




Figure F-9: Floodwall cross section divided into three areas.

In this figure, the longitudinal cross section is divided into three areas. The following
table tabulates the area and location of centroid for each area and finds the centroid for
the entire cross section.

      Section                Area, in2                Xbar                 A Xbar
         1                      216                     3                     648
         2                      324                    12                    3888
         3                     1440                    12                  17,280
       Sum:                    1980                                        21,816
Table F-3: Calculation of the center of mass of the floodwall cross section.

Dividing the sum of the A Xbar column by the total area gives the centroid of the entire
section:

                          Xbar = 21,816 / 1980 = 11.01818 in.
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With the location of the centroid known, it is possible to calculate the moment of inertia
of the floodwall. The equation for the moment of inertia of a rectangle is:

                                              I = 1/12 b h3 + b h y2                  20)

And the equation for the moment of inertia of a triangle is:

                                            I = 1/36 b h3 + ½ b h y2                  21)

Where,
     b = width of object
     h = Height of object
     y = distance from centroid of section to centroid of entire cross section

The moment of inertia of section 1, using equation 20, is:

                       I1 = 1/12 (36) (63) + (36) (6) (11.01818 – 3)2 = 14,535 in4

The moment of inertia of section 2, using equation 21, is:

                    I2 = 1/36 (36) (183) + ½ (36) (18) (12 – 11.01818)2 = 6144 in4

The moment of inertia of section 3, using equation 20, is:

                    I3 = 1/12 (60) (243) + (60) (24) (12 – 11.01818)2 = 70,508 in4

The total moment of inertia is equal to the sum of the moment of inertia of the three
sections:

                                                  I = 91,187 in4

The formula for moment capacity is:

                                                   Mn =      I/c                      22)

Where,
       Mn = Nominal moment capacity
           = Ultimate tensile strength of concrete, usually 8% -12% of compressive
         2
strength
       I = Moment of Inertia
       C = distance from centroid to tension face

For concrete with a compressive strength of 4000 psi, it is customary to assume a
tensile strength of no more than 350 psi, which gives a nominal moment capacity of:


2
    Design of Concrete Structures, Chapter 2 by Arthur Nilson, 2004.
                                                        F-13
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              Mn = (350) (91,187) / (24 – 11.01818) = 2,458,473 in-lb or 204.87 k-ft

Which is the bending strength neglecting the rebar. This un-reinforced moment
capacity is well below the expected moment created during Scenario 1 and is just
slightly above the expected moment created during Scenario 2. The expected moment
from Scenario 3 is considerably lower than the capacity.

It is also necessary to calculate the ultimate moment capacity for the floodwall when
the reinforcement is taken into account. Each face of the floodwall is reinforced by #4
bars which are spaced 6 in. on center in the lower rectangular section and 12 in. on
center in the top section. A cross section of the floodwall showing reinforcement can
be seen in Figure F-10.




Figure F-10: Diagram of reinforcement steel in floodwall.

Because the floodwall has reinforcement at both faces, it is first necessary to
determine if it is necessary to treat the section as a doubly reinforced beam. Each of
the #4 bars have an area of 0.20 square inches3, meaning that the total area of steel
subject to tension is 11 x 0.20 = 2.2 in2.

The reinforcement ratio , defined as the area of tension steel divided by the product of
the width and the effective depth of the beam.4 In order to find the effective depth,
which is defined as the distance from the centroid of the tension reinforcement to the
compression face, it is necessary to locate the centroid of the tension reinforcement:

3
    American Concrete Institute Manual 318-02.
4
    Design of Concrete Structures, Chapter 3 by Arthur Nilson, 2004.
                                                        F-14
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             No. of Bars                   Distance From Tension         # Bars x Distance
                                                    Face
             9                                        3                          27
             1                                        6                           6
             1                                       12                          12
        Sum = 11                                                               Sum = 45
Table F-4: Calculation of centroid of reinforcement.

                             Centroid = 45 / 11 = 4.09 in from tension face.

The effective depth of the beam is 24 – 4.09 = 19.91 in.

The reinforcement ratio of the beam is:

                                        = 2.2 / (19.91 x 96) = 0.00115                       23)

For concrete having a compressive strength of 4000 psi and rebar with a yield strength
of 40,000 psi, the maximum reinforcement ratio max = 0.0310. Because the actual
reinforcement ratio is less than the maximum reinforcement ratio, this beam can be
analyzed as being singularly reinforced.

The equation for the nominal moment capacity a reinforced concrete beam is able to
accept is as follows: 5

                                              Mn = As fy (d – a/2)                           24)

Where,
     As = Area of steel, 2.2 square inches.
     fy = yield strength of steel, 40,000 psi.
     d = effective depth of beam, 19.91 in.
     a = depth of equivalent rectangular stress block.

The depth of the equivalent rectangular stress block is:

                                            a = (As fy) / (0.85 f’c b)                       25)

Where,
     f’c = Compressive strength of concrete, 4000 psi.
     b = Width of the beam’s compression face, 96 in.

These two equations will produce a nominal moment capacity of a panel including the
rebar as:

                                                Mn = 145.02 k-ft


5
    Design of Concrete Structures, Chapter 3 by Arthur Nilson, 2004.
                                                        F-15
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This value is less than the moment capacity of a plain concrete beam of the same size.
By comparing the two moment capacities with the expected moment, it is clear that the
moment expected to be induced by Scenario 1 (see Table F-2) will crack the panel.
This is contrary to the assumption made for Scenario 1, thus Scenario 1 is not possible
and therefore will not be investigated further. The moment expected to be induced by
Scenario 2 is slightly below the calculated capacity, so it is unlikely that the panels will
crack in this scenario. Scenario 3 has an expected moment considerably less than
either of the calculated capacities, meaning that the probability of the panel cracking a
second time during this scenario is extremely low.

The preceding moment capacity calculations are for the floodwall in the longitudinal
direction, but it is also important to be able to determine if the wall panel has sufficient
moment capacity in the vertical direction.

The vertical reinforcement in the floodwall consists of #6 bars at the canal side face
and #4 bars at the land side face, all spaced 9 inches on center. A diagram of the
reinforcement is shown in Figure F-11:




Figure F-11: Vertical cross section of 9 inch element of IHNC floodwall.

Because the floodwall has reinforcement in both the tension and compression face, it
must be determined if the beam must be analyzed as being double-reinforced. The #6
bar has a cross sectional area of 0.44 in2, and the reinforcement ratio is:

                                = 0.44 / (9 x 21) = 0.00232

Because the reinforcement ratio is less than the maximum reinforcement ratio of
0.0310, this beam may be analyzed as a singularly reinforced member. Following the
previously provided equations for the nominal moment capacity of a reinforced
concrete beam yields:

                        a = (0.44 x 40) / (0.85 x 4 x 9) = 0.575 in

                                           F-16
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                     Mn = 0.44 x 40 (21 – (0.575 / 2)) = 30.378 k-ft

Neglecting the reinforcement will result in an un-cracked moment of inertia of:

                              I = 1/12 x 9 x 243 = 10,368 in4

Assuming an allowable tensile stress of 350 psi, and using 12 inches as the distance
from neutral axis to the tension face, the moment capacity neglecting reinforcement is:

                           Mn = (350 x 10,368) / 12 = 25.2 k-ft

This moment is less than the nominal moment capacity when the steel reinforcement is
considered.

In collision Scenario 2, the expected impact force on the flood wall is approximately
65.24 kips, and the height of the flood wall above the sheetpiling is approximately 4
feet. This would correspond to a moment of 65.24 x 4 = 261 k-ft. In order for the wall
not to crack in the vertical direction, the impact force would have to be spread out over
a length of:

                             261 / 30.378 x 9/12 = 6.44 feet

In reality, the corner of the barge would place the impact load in an area only a few
inches wide. As the top of the floodwall has very little reinforcement to distribute the
impact load over a larger portion of floodwall, it is very probable that the floodwall will
not be able to withstand the impact, and that the concrete will crack off above the
sheetpile. The cracking of the concrete will prevent the load from being transferred to
the sheetpiling, and thus will prevent the sheetpiling from overturning.

There are two other ways in which the concrete floodwall monoliths could fail before
transferring the impact load to the sheetpiling. These mechanisms are shear and
failure at the construction joint. Both of these mechanisms were observed on
floodwalls that were struck by barges during Hurricane Katrina. Figure 73 in the main
body of the report shows an example of shear, where the top few inches of concrete
were scraped off by a barge. The localized damage at the south end of the south
IHNC breach is an example of failure at a construction joint. In both of these cases,
shear or a construction joint failure occurred before the concrete cracked and hinged at
the sheetpiling. In fact, there were no observed locations where a barge impacted a
floodwall and caused the concrete monolith to crack off at the top of the embedded
sheetpiling. This shows that when impacted by a barge, the concrete floodwall panels
prefer to crack at the construction joint or have a small portion of the top shear off
rather than cracking at the level of the sheetpiling or overturning.

A hypothetical barge impact would not, therefore, have caused the IHNC levee failure
during Hurricane Katrina, even if such an impact had occurred prior to the failure. For
independent reasons discussed above, such an impact did not occur prior to the
failure. Nevertheless, the calculations presented in this section provide separate

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confirmation that the barge did not cause the IHNC levee failures because impact from
a barge, in the conditions of Hurricane Katrina, could not have done so.




Figure F-12: Diagram of shear planes.




Figure F-13: Location of construction joint in flood wall.




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Attachment F-1 – Bending Moments


Determination of Bending Moment in Floodwall Stem for Collision Scenario 1

In Scenario 1, the analysis has Barge ING 4727 being brought from a velocity of 1.342
feet per second to a stop in a distance of 3.64 inches (0.3033 feet). Under constant
acceleration, this produces an acceleration of:

                            -1.3422 / (2 x .3033) = -2.97 ft / s2

However, the acceleration of the barge would not be constant. In reality, the
acceleration would begin at zero when it made first contact with the floodwall and will
increase to an amount double the average calculated above. Thus, the barge would
be subject to an acceleration of -5.94 ft / s2. This equates to an impact force of:

                             F = 17,389 x 5.94 = 103,290 lb

In collision Scenario 1, an evenly distributed load from soil pressure on the panel that is
pushed straight back will resist a portion of the 106,786 pounds applied by the barge
while the remainder will be resisted by soil pressure originating behind the wall panels
that are adjacent to the center panel. The pressure behind these panels will be
transferred to the center panel via shear transmitted by the sheetpiling. This load
distribution corresponds to a distributed load of 2065.8 lb/ft applied to the center panel
and two point loads of 20,658 pounds each being applied to the ends of the center
panel. This will result in a bending moment of:

              Mmax = 15’ (20.658 k) + (2.0658 k/ft) (15’) (7.5’) = 542.3 k-ft




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Determination of Maximum Expected Impact Forces and Bending Moment in
Floodwall Stem during Collision Scenario 2

In Scenario 2, the analysis has Barge ING 4727 being brought from a velocity of 1.342
feet per second to a stop in a distance of 5.76 inches (0.48 feet). Under constant
acceleration, this produces an acceleration of:

                            -1.3422 / (2 x .48) = -1.876 ft / s2

However, the acceleration of the barge would not be constant. In reality, the
acceleration would begin at zero when it made first contact with the floodwall and will
increase to an amount double the average calculated above. Thus, the barge would
be subject to an acceleration of -3.752 ft / s2. This equates to an impact force of:

                            F = 17,389 x 3.752 = 65,243 lb

In this collision scenario, the loading applied by the barge to the floodwall will be
resisted by lateral earth pressure that is distributed in a manner that the maximum
pressure occurs directly behind the point at the joint between two floodwall panels
where the barge corner contacts. The pressure tapers to zero at the joints of the
floodwall panels located 30 feet away from the point where the barge corner made
contact. The maximum distributed loading in this scenario is 3262.15 pounds per foot.
As shown in the shear and bending moment diagram below, the maximum moment is:

                                        188.34 k-ft




Figure F-14: Shear and Moment Diagram, Scenario 2.




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Determination of Maximum Expected Impact Forces and Bending Moment in
Floodwall Stem during Collision Scenario 3

In Scenario 3, the analysis has Barge ING 4727 being brought from a velocity of 1.342
feet per second to a stop in a distance of 8.15 inches (0.679 feet). Under constant
acceleration, this produces an acceleration of:

                            -1.3422 / (2 x .679) = -1.326 ft / s2

However, the acceleration of the barge would not be constant. In reality, the
acceleration would begin at zero when it made first contact with the floodwall and will
increase to an amount double the average calculated above. Thus, the barge would
be subject to an acceleration of -2.652 ft / s2. This equates to an impact force of:

                             F = 17,389 x 2.652 = 46,115 lb

In this collision scenario, the loading applied by the barge to the floodwall will be
resisted by lateral earth pressure that is distributed in a manner that the maximum
pressure occurs directly behind the point at the joint between two floodwall panels
where the barge corner contacts. The pressure tapers to zero at the joints of the
floodwall panels located 15 feet away from the point where the barge corner made
contact. The maximum distributed loading in this scenario is 4611.5 pounds per foot.
As shown in the shear and bending moment diagram below, the maximum moment is:

                                         66.56 k-ft




Figure F-15: Shear and Moment Diagram, Scenario 3.




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                             Appendix G

                Lower Ninth Ward Debris Survey
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 Photo 1: Example of a fence gate bent by incoming water, Deslonde St.




 Photo 2: Bent fence poses and tree, Deslonde St.


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 Photo 3: Leaning utility pole, Deslonde St.




 Photo 4: Cars displaced by flowing water, Deslonde St.




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 Photo 5: Fallen masonry wall, Jourdan Ave. and N. Galvez St.




 Photo 6: Stop sign bent by flowing water, Reynes St. and N. Tonti St.


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 Photo 7: Bent one way sign, Reynes St. and N. Derbigny St.




 Photo 8: Tilted tree, Lizardi St. and N. Derbigny St.




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 Photo 9: Fallen concrete block wall, Flood St. and N. Prieur St.




 Photo 10: Aerial photograph showing fallen trees between N. Johnson and N.
 Prieur St.


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                             Appendix H

        Documentation of Damage to Barge ING 4727
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 Photo1: The port side of barge section 19, which was located at the stern.




 Photo 2: The port side of barge section 19.

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 Photo 3: Stern quarter view of barge section 19.




 Photo 4: Details of stern portside corner of barge.

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 Photo 5: Section 17, port side, looking toward bow, showing details of the barge’s
 cross section.




 Photo 6: Close up of the turn of the bilge of section 17, port side.
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 Photo 7: Details of port side corner of section 19.




 Photo 8: Dimples on the bottom of section 18, looking aft.

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 Photo 9: Close-up of dimples on the bottom of section 18, looking aft.




 Photo 10: Longitudinal and diagonal scratch marks on the bottom of section 18,
 looking aft.
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 Photo 11: Section 17, port side, looking aft, showing details of the barge’s cross
 section.




 Photo 12: Longitudinal scratch marks on the bottom of section 17, looking aft.
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 Photo 13: Scratch marks and indentation on bottom of section 16, looking
 forward.




 Photo 14: Indentation on the port side of section 14.
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 Photo 15: Indentations on the port side of section 14.




 Photo 16: Indentation and scratch marks on bottom of section 12, looking aft.
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 Photo 17: Indentation and scratch marks on bottom of section 12, looking aft.




 Photo 18: Tear on starboard side of section 7.
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 Photo 19: Large indentation on port side of section 9.




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 Photo 20: Large indentation on port side of section 9.




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 Photo 21: Longitudinal scratch marks on section 7, looking forward.




 Photo 22: Abrasion of turn of bilge, section 5 starboard side.
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 Photo 23: Scratch marks on section 3, looking aft.




 Photo 24: Scratch marks on the turn of the bilge at the forward end of section 1.
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 Photo 25: Scratch marks on the turn of the bilge at the forward end of section 1.




 Photo 26: Scratch marks and indentation on the turn of the bilge at the forward
 end of section 1.
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 Photo 27: Scratch marks on the turn of the bilge at the forward end of section 1.




 Photo 28: Scratch marks on the turn of the bilge at the forward end of section 1.
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